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                        RECOMMENDATION TERMINATING
                      PROBATION PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA                     )
                                             )
                             vs.             )       Docket Number: 2:03CR00545-02
                                             )
Thun NHEM                                    )
                                             )




LEGAL HISTORY:

On September 27, 2004, the above-named was placed on Probation for a period of 5
years. Special conditions included: Search; Financial disclosure; Participate in
drug/alcohol treatment; Participate in mental health treatment; Co-pay for treatment;
Abstain from alcohol; Do not discharge restitution in any bankruptcy proceeding;
Employment restrictions; and 180 days home detention.


SUMMARY OF COMPLIANCE:

He has complied with all conditions and special conditions of Probation, and has not been
involved in any further criminal activities. It is the opinion of the probation officer that Mr.
Nhem has derived maximum benefit from supervision and is not in need of continued
supervision.




                                                                                         Rev. 04/2007
                                                 1          EARLY TERMINATION ~ RECOMMENDATION.MRG
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RE:      Thun NHEM
         Docket Number: 2:03CR00545-02
         RECOMMENDATION TERMINATING
         PROBATION PRIOR TO EXPIRATION DATE


RECOMMENDATION:

It is, therefore, respectfully recommended that Probation in this case be terminated early.

                                       Respectfully submitted,


                                   /s/ Deborah A. Spencer
                                  DEBORAH A. SPENCER
                         Supervising United States Probation Officer


Dated:           August 8, 2007
                 Elk Grove, California
                 DAS/cj



cc:      AUSA Daniel S. Linhardt (Pursuant to Rule 32, notice of proposed relief to the probationer is
         being provided. If no objection is received from you within 14 days, the probation officer's
         Recommendation and Prob35-Order Terminating Probation Prior to Expiration Date, will be submitted
         to the Court for approval.)




                                                                                                Rev. 04/2007
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PROB 35                   ORDER TERMINATING PROBATION
                            PRIOR TO EXPIRATION DATE


                          UNITED STATES DISTRICT COURT
                                    FOR THE
                         EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                         )
                                                 )
                           vs.                   )     Docket Number: 2:03CR00545-02
                                                 )
Thun NHEM                                        )
                                                 )


On September 27, 2004, the above-named was placed on probation for a period of 5 years.
He has complied with the rules and regulations of supervision. It is accordingly recommended
that he be discharged from supervision.

                                  Respectfully submitted,


                                /s/ Deborah A. Spencer
                               DEBORAH A. SPENCER
                      Supervising United States Probation Officer

Dated:       August 8, 2007
             Elk Grove, California
             DAS/cj




                                                                                    Rev. 03/2005
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RE:   Thun NHEM
      Docket Number: 2:03CR00545-02
      ORDER TERMINATING PROBATION
      PRIOR TO EXPIRATION DATE




                                   ORDER OF COURT

It is ordered that the probationer be discharged from probation, and that the proceedings in
the case be terminated.




 August 28, 2007
Date                                             Frank C. Damrell, Jr.
                                                 United States District Judge


Attachment: Recommendation
cc:   United States Attorney's Office
      FLU Unit, AUSA's Office
      Fiscal Clerk, Clerk's Office




                                                                                    Rev. 03/2005
                                             4                                     PROB35.MRG
